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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

  UMG RECORDINGS, INC., et al.,

          Plaintiffs,                                           CASE NO. 8:19-cv-710-MSS-TGW

  vs.

  BRIGHT HOUSE NETWORKS, LLC,

          Defendant.
                                              /

         NON-PARTY MARKMONITOR, INC.’S1 AMENDED MOTION
             REQUESTING THE COURT RETURN OR DESTROY
          MARKMONITOR’S SEALED DOCUMENTS ATTACHED TO
      DEFENDANT’S MOTION FOR RECONSIDERATION OF JULY 22, 2022
      ORDER AND/OR FOR ENFORCEMENT OF JULY 13, 2022 ORDER (D.E.
                               695)

          Pursuant to Local Rule 1.11, Non-Party MarkMonitor (“MarkMonitor”)

  respectfully submits the following amended motion requesting the Court (a) return,

  destroy, or permanently seal MarkMonitor’s confidential documents that

  Defendant Bright House Networks, LLC (“BHN”) filed under seal as exhibits to its

  Motion for Reconsideration of July 22, 2022 Order and/or for Enforcement of July

  13, 2022 Order (“Motion for Reconsideration”) (D.E. 695); (b) destroy or

  permanently seal a hearing transcript that discusses MarkMonitor’s confidential

  documents and information that BHN attached to its Motion for Reconsideration,
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    The “MarkMonitor, Inc.” at issue herein was acquired by OpSec Online LLC in January 2020. For ease of
  reference, and because of the continuing business under that brand name, this brief references “MarkMonitor, Inc.”
  as the moving non-party.

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  or replace the transcript with a redacted version; and (c) permanently seal BHN’s

  Motion for Reconsideration because it discusses MarkMonitor’s confidential

  documents.

               INTRODUCTION AND PROCEDURAL HISTORY

        1.     On July 25, 2022, BHN filed a redacted version of a Motion for

  Reconsideration with reference to numerous exhibits, most of which were not filed

  because they were produced as confidential. (D.E. 695). On July 26, 2022, this

  Court ordered BHN to file under seal an unredacted version of its motion and all

  exhibits. (D.E. 696). BHN attached as exhibits many documents MarkMonitor and

  Plaintiffs produced as Confidential and Highly Confidential – Attorney’s Eyes

  Only (“Confidential Information”).     BHN also attached a transcript from a

  Miscellaneous Hearing held on July 12, 2022 that discusses MarkMonitor’s

  confidential documents and information.

        2.     Plaintiffs filed their Opposition to BHN’s Motion for Reconsideration

  on July 26, 2022. (D.E. 698).

        3.     On July 31, 2022, for the first time, BHN provided MarkMonitor

  notice pursuant to Local Rule 1.11(d) that it had filed MarkMonitor’s confidential

  documents under seal with the Court as exhibits to its Motion for Reconsideration,

  and provided MarkMonitor an unredacted version of the motion and exhibits. See

  Declaration of Chantel Wonder, Ex. 1 ¶ 3; and July 31, 2022 email from


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  Defendant’s counsel, Ex. 2. Defendant’s counsel failed to include MarkMonitor’s

  counsel on an email sent July 25, 2022. See Ex. 2 (“You were inadvertently left off

  of the chain below.”). See Dec. Wonder Ex. 1 ¶ 3.

        4.      On August 2, 2022, Plaintiffs and BHN filed a Joint Notice of

  Resolution (D.E. 737). Also on August 2, 2022, this Court entered an Order of

  Dismissal with Prejudice in which it granted the Joint Notice of Resolution,

  dismissed the case with prejudice, and ordered the Clerk to terminate any pending

  motions, cancel the hearing set for August 2, 2022, cancel trial scheduled for

  August 3, 2022, and to close the case. (D.E. 741).

        5.      The Confidential Information produced by MarkMonitor was

  produced with the understanding and expectation the Parties would honor and

  maintain the applicable level of confidentiality for these documents and testimony,

  as part of their use in this proceeding and submission of materials to the Court,

  such that MarkMonitor’s information would not be made available or accessible to

  competitors, any interested sector of the pro-piracy publications, or to the general

  public. Public disclosure of MarkMonitor’s proprietary verification process to its

  competitors or others would cause significant injury to MarkMonitor. See Dec. of

  Wonder ¶ 9.

        6.      Because the Court dismissed this case and terminated all pending

  motions on August 2, 2022, one business day after BHN on July 31, 2022 provided


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  MarkMonitor the notice of submitting under seal MarkMonitor’s confidential

  documents that is required by Local Rule 1.11(d), MarkMonitor had no

  opportunity before dismissal to seek a permanent sealing order. For that reason,

  MarkMonitor now requests relief from this Court with respect to MarkMonitor’s

  Confidential Information.

        7.     Specifically, MarkMonitor seeks relief with respect to Exhibits A, J,

  K, L, M, N, O, P, Q, T, and U to BHN’s Motion for Reconsideration [D.E. 695] as

  further explained below.

        a.     Exhibit A is a transcript of the July 12, 2022 hearing. The transcript

  contains information and reference to MarkMonitor’s source code that is private,

  proprietary, confidential and commercially sensitive trade secret information

  regarding its antipiracy detection system. See Dec. of Wonder ¶ 5; MarkMonitor’s

  Motion to Redact July 12, 2022 Hearing Transcript (D.E. 748). Public disclosure

  of MarkMonitor’s proprietary verification process to its competitors or others

  would cause significant injury to MarkMonitor. See Dec. of Wonder ¶ 9. BHN

  submitted under seal the transcript pursuant to Court Order (D.E. 696). Further, on

  August 8, 2022, MarkMonitor filed a motion to redact the July 12 transcript

  identifying portions of the transcript MarkMonitor deems proprietary and

  confidential. (D.E. 748). MarkMonitor requests the Court destroy or permanently

  seal the July 12 transcript or, in the alternative, replace it with a redacted version as


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  requested in MarkMonitor’s Motion to Redact. (D.E. 748). MarkMonitor will file

  the redacted version upon the Court granting its motion (D.E. 748).

        b.     Exhibits J, K, L, and N are emails with attached drafts of a declaration

  of Slawomir Paszkowski. The draft declarations discuss MarkMonitor’s

  proprietary and confidential source code. See Dec. of Wonder ¶ 6. This Court

  previously entered a sealing order (D.E. 566) and based on that order, Mr.

  Paszkowski’s declaration was sealed in its entirety. (D.E. 591-29). Because the

  Court found the final declaration was entitled to be sealed in its entirely, drafts of

  the declaration should likewise be destroyed or permanently sealed.

        c.     Exhibits M, O, P, and Q are emails with attached drafts of a

  declaration of Sam Bahun. The draft declarations discuss MarkMonitor’s

  proprietary and confidential source code. See Dec. of Wonder ¶ 6. Based on this

  Court’s sealing order [D.E. 566], Mr. Bahun’s final declaration was redacted. (D.E.

  591-30). Because the Court previously found portions of Mr. Bahun’s declaration

  should be sealed, the drafts of Mr. Bahun’s declaration should likewise be

  destroyed or permanently sealed. Alternatively, the Court should order these

  exhibits to be replaced with the redacted version of Mr. Bahun’s final declaration

  (D.E. 591-30).

        d.     Exhibit T is an email discussing decompiling tools that can be used to

  unpack MarkMonitor’s confidential and proprietary binary files into readable code,


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  which could be harmful in the wrong hands. See Dec. of Wonder ¶ 7. Accordingly,

  this exhibit should be destroyed or permanently sealed.

        e.     Exhibit U is a privilege log provided by Plaintiffs’ counsel that

  identifies the subject matter of confidential MarkMonitor emails. The log also

  includes names and email addresses of MarkMonitor employees. See Dec. of

  Wonder ¶ 8. MarkMonitor considers this information confidential and non-public,

  as the public has no interest in this information. See Dec. of Wonder ¶ 8. The Court

  should therefore destroy or permanently seal this exhibit.

        f.     Finally, BHN’s unredacted Motion for Reconsideration discusses the

  above exhibits. The Court should therefore permanently seal the unredacted

  version of the motion.

                             MEMORANDUM OF LAW

        8.     “[T]he public right to access is not absolute, even as to filings that

  bear directly on the merits of the case. When the interest in secrecy is sufficiently

  compelling, the Court may redact portions of a trial transcript, maintain trial

  exhibits under seal, or even limit public access to a trial itself.” Dish Network

  L.L.C. v. TV Net Sols., LLC, 2014 WL 4954683. At *2 (M.D. Fla. Oct. 2, 2014).

  Like the instant case, “redaction may be justified by other reasons, such as a

  significant risk of competitive injury from disclosure.” Id. As stated above, the

  Confidential Information, the July 12, 2022 hearing transcript, and BHN’s motion


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  contain information relating to MarkMonitor’s proprietary and confidential source

  code that provides MarkMonitor with a competitive advantage over others that

  would be eliminated or diluted by making unsealed that portion of the Confidential

  Information.

        9.       Similarly, the common law balancing of a public right to access with

  the designating party’s interests in maintaining confidentiality requires “courts

  consider, among other factors, whether allowing access would impair court

  functions or harm legitimate privacy interests, the degree and likelihood of injury if

  made public, the reliability of the information, whether there will be an opportunity

  to respond to the information, whether the information concerns public officials or

  public concerns, and the availability of a less onerous alternative to sealing the

  documents.” Romero v. Drummond Co., Inc., 480 F.3d 1234, 1246 (11th Cir.2007).

        10.      There is good cause here to continue to maintain confidentiality with

  respect to the Parties’ use of and reliance on MarkMonitor’s Confidential

  Information in their filings and in the Court’s records, where such information is

  proprietary in nature to the third party. Pat. Asset Licensing, LLC v. Bright House

  Networks, LLC, 2016 WL 2991057, at *1 (M.D. Fla. May 24, 2016).

        11.      Where a party has information that is confidential and proprietary, a

  court may grant a motion to seal, to protect a party from losing its intellectual

  property and trade secrets. Mobile Shelter Systems USA, Inc., v. Grate Pallet Sols.,


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  LLC, 2011 WL 5357843 (M.D. Fla. Nov. 1, 2011). Indeed, portions of the

  Confidential Information, the July 12, 2022 transcript, and BHN’s motion here are

  proprietary in nature, and are evidence of a dispute between business entities, with

  the public’s interest being low, but for competitors who wish to gain an unfair

  advantage over MarkMonitor or others that wish to publicize or exploit

  MarkMonitor’s highly sensitive technical information in the pro-piracy sector of

  the general public.     See, e.g. Adacel, Inc. v. Adsync Techs., Inc., 2020 WL

  6382619, at *1 (M.D. Fla. July 1, 2020); NXP B.V. v. Blackberry Ltd., 2014 WL

  12622459, at *2 (M.D. Fla. Mar.17, 2014). This is especially true, where as here,

  the public will still have access to a majority of the Parties’ filings, and their access

  right to non-sensitive material regarding the merits of the case is not inhibited.

  Poxicom Wireless, LLC v. Macy’s, Inc., 2018 WL 8344645, at *2 (M.D. Fla. Oct.

  29, 2018); Melendez v. Sec’y, Dep’t of Homeland Sec., 2015 WL 13803850, at *3

  (M.D. Fla. Nov. 2, 2015).

        12.    It is for these reasons, coupled with the fact that the Court has

  dismissed this case with prejudice, terminated all pending motions, and closed the

  case, that MarkMonitor asks this Court for relief set forth below.

                                     CONCLUSION

        12.    For the foregoing reasons, MarkMonitor respectfully requests the

  Court enter an Order granting MarkMonitor’s instant Motion, and

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              a. Return to MarkMonitor, destroy or permanently seal any hard

                  copies or electronic copies of MarkMonitor’s Confidential

                  Information (specifically, Exhibits J, K, L, M, N, O, P, Q, and T to

                  BHN’s Motion for Reconsideration); and any documents that

                  disclose or discuss MarkMonitor’s Confidential Information

                  (specifically, Exhibits A and U to BHN’s Motion for

                  Reconsideration, as well as BHN’s Motion for Reconsideration);

              b. Alternatively, (i) with respect to Exhibit A (the July 12, 2022

                  hearing transcript), replace it with a redacted version as requested

                  in MarkMonitor’s Motion to Redact July 12, 2022 Hearing

                  Transcript (D.E. 748); and (ii) with respect to Exhibits M, O, P,

                  and Q (draft of Bahun Declaration) replace them with the redacted

                  final version of Mr. Bahun’s declaration (D.E. 591-29).

                        LOCAL RULE 3.01(g) CERTIFICATION

        I certify that MarkMonitor’s counsel have conferred with Counsel for the

  Defendant on August 5, August 8, and August 9, 2022 regarding the relief

  requested herein.    On August 9, 2022, Defendant’s counsel indicated that

  Defendant does not take a position regarding the requested relief. MarkMonitor’s

  counsel also certifies that they have conferred with Counsel for the Plaintiffs, who




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   have indicated Plaintiffs have no objection regarding the filing of MarkMonitor’s

   instant Motion.

         Respectfully submitted this 12th day of August, 2022.


                                   /s/ Chantel C. Wonder
                                   Chantel C. Wonder, Esq.
                                   Florida Bar No.: 87601
                                   Email: cwonder@grsm.com
                                   GORDON & REES SCULLY MANSUKHANI
                                   100 SE Second Street, Suite 3900
                                   Miami, Florida 33131
                                   Telephone: (305) 428-5309
                                   Facsimile: (877) 634-7245
                                   Counsel for Non-Party, MARKMONITOR,
                                   INC.



                            CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 12th day of August, 2022, the foregoing
   document was filed with the Clerk of Court by using the CM/ECF system which
   will serve a true and correct copy by electronic notice on all counsel or parties of
   record.

                                                /s/ Chantel C. Wonder
                                                Chantel Wonder, Esq.




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